
USCA1 Opinion

	










          October 31, 1995  UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________

          No. 93-2101

                              UNITED STATES OF AMERICA,

                                 Plaintiff, Appellee,

                                          v.

                                HECTOR GUZMAN RIVERA,

                                Defendant, Appellant.

                                 ____________________

          No. 93-2102

                              UNITED STATES OF AMERICA,

                                 Plaintiff, Appellee,

                                          v.

                              RAFAEL VELASQUEZ-MARQUEZ,

                                Defendant, Appellant.

                                 ____________________

                                     ERRATA SHEET
                                     ERRATA SHEET

               The opinion of  this Court  issued on October  17, 1995,  is
          amended as follows:

               On page 3, second paragraph,  line 6, change "F.R.Civ.P." to
          "F.R.Crim.P."































                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 93-2101

                              UNITED STATES OF AMERICA,

                                 Plaintiff, Appellee,

                                          v.

                                HECTOR GUZMAN RIVERA,

                                Defendant, Appellant.

                                _____________________

        No. 93-2102

                              UNITED STATES OF AMERICA,

                                 Plaintiff, Appellee,

                                          v.

                              RAFAEL VELASQUEZ-MARQUEZ,

                                Defendant, Appellant.

                                 ____________________


                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF PUERTO RICO

                 [Hon. Jaime Pieras, Jr., Senior U.S. District Judge]
                                          __________________________

                                 ____________________

                                        Before

                                Boudin, Circuit Judge,
                                        _____________

                      Aldrich and Coffin, Senior Circuit Judges.
                                          _____________________

                                 ____________________





















                                 ____________________


            Rachel Brill on brief for appellant Hector Guzman-Rivera.
            ____________
            Luis A. Amoros on brief for appellant Rafael Velasquez-Marquez.
            ______________
            Jose  A. Quiles-Espinosa,  Senior Litigation  Counsel, W.  Stephen
            ________________________                               ___________
        Muldrow, Assistant United States  Attorney, and Guillermo Gill, United
        _______                                         ______________  ______
        States Attorney, on brief for appellee.
        _______________

                                 ____________________

                                   October 17, 1995
                                 ____________________




















































                      ALDRICH,  Senior  Circuit  Judge.    Hector  Guzman
                                ______________________

            Rivera (Guzman) and Rafael Velasquez Marquez (Velasquez) were

            indicted  on December  9, 1992  for, inter  alia, aiding  and

            abetting  each  other in  1)  the possession  with  intent to

            distribute approximately two-eighths of a kilogram of heroin,

            21  U.S.C.     841(a)(1) and  18  U.S.C.    2,  and 2)  using

            firearms  in  relation to  a  drug trafficking  offense.   18

            U.S.C.     924(c) and 2.   Guzman, found guilty by  a jury on

            both counts,  appeals, alleging  various errors at  his trial

            and  from the court's imposition  of a fine.   Velasquez, who

            pleaded guilty, complains only of his fine.  We affirm.

                      So far as the trial is concerned, this is a typical

            case where  appellate counsel  is  able to  find nothing  but

            matters so apparently proper on their face as to have invoked

            no objection  at the time.   In fact there was  no error, let

            alone  the  plain error  that  Guzman  must now  demonstrate.

            F.R.Crim.P. 52(b).  See  United States v. Young, 470  U.S. 1,
                                ___  _____________    _____

            15, 105 S.Ct.  1038, 1046,  84 L.Ed.2d 1  (1985) (rule  52(b)

            authorizes  courts of  appeal to  correct  only "particularly

            egregious   errors"   that  seriously   undermine  "fairness,

            integrity  or public  reputation  of judicial  proceedings");

            United States v.  Taylor, 54  F.3d 967, 973  (1st Cir.  1995)
            _____________     ______

            (same).

                      On the evening of  December 3, 1992, Guzman arrived

            at  the  Carib   Inn  in  San  Juan  driving  a  dark-colored



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            automobile.  A confidential informant was  in the front seat,

            and  Velasquez in the back.  Velasquez proved to possess two-

            eighths of a  kilogram of  heroin, which he  was planning  to

            exchange with  Moran, an  undercover DEA agent,  for $50,000.

            The evidence,  post, warranted  a finding  that Guzman  had a

            revolver.  As  expected, the auto was  met by Moran, who  put

            his head  in the  window and asked  if they  had the  heroin.

            Defendants simultaneously said  yes -- the clearest  evidence

            of a  conspiracy relationship.   The court admitted  tapes of

            conversations between  Velasquez and Moran  arranging for the

            heroin transaction, recorded only hours before it took place.

            Guzman now complains of this.

                      Hearsay   statements   are  admissible   against  a

            defendant  when it  is more  likely than  not that  he was  a

            coconspirator of the speaker,  that the conspiracy existed at

            the time the statements were made, and that they were made in

            furtherance of it.  United  States v. Petrozziello, 548  F.2d
                                ______________    ____________

            20, 23 (1st Cir.  1977).  See F.R.Evid. 801(d)(2)(E).   There
                                      ___

            is no  requirement that  the indictment charge  conspiracy to

            find such statements admissible.  United States v. Ortiz, 966
                                              _____________    _____

            F.2d  707, 714 (1st Cir.  1992), cert. denied,  ___ U.S. ___,
                                             ____________

            113 S.Ct. 1005,  122 L.Ed.2d  154 (1993).   While there  were

            some arguable contradictions in  the testimony, the fact that

            Velasquez  stated during  the  taped conversations  that  the

            heroin belonged to  himself and two partners, that Guzman and



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            another  in fact showed up to deliver the heroin very shortly

            after  Velasquez' final conversation  cementing the deal with

            Moran, that he was  driving the vehicle to the  meeting place

            Velasquez  negotiated during those conversations, that he was

            armed with a loaded weapon and carried additional ammunition,

            coupled with  the uncontroverted  evidence that  he responded

            positively, in  concert with  Velasquez, when Moran  asked if

            they  had  the  "manteca,"1   are  more  than  sufficient  to

            convince us no plain error occurred.  We do not take the fact

            that Moran  was not  expecting Guzman as  necessarily meaning

            that  Velasquez was  so  casual  as  to  seek  a  driver  and

            additional protection only at the last minute.

                      With respect to Guzman's possession of a firearm, a

            police  officer  testified that  as  he  was approaching  the

            parked  car  after Moran  had  given  the prearranged  arrest

            signal, he saw  Guzman draw  a revolver from  his waist,  and

            then lean forward  as if  he were  placing an  object on  the

            floor.   While Guzman was placed under arrest, a revolver was

            found  on the driver's side, beneath the foot pedals.  Guzman

            complains that  the  court denied  him  early access  to  the

            revolver, which might have shown absence of his fingerprints,

            thereby  contradicting  his  possession.    The  government's

            response  is twofold:   where  standard procedures  (which we

            have no occasion to question here) require arresting officers

                                
            ____________________

            1.    The street name for heroin.

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            to seize the firearm  for their own protection, and  later to

            have  the weapon tested to determine whether it was operable,

            no print  examination was performed,  and by the  time Guzman

            first  sought  examination it  had  been  cleaned and  thinly

            coated with a preservative for  storage.  Guzman's own expert

            conceded that  after such treatment no  previous fingerprints

            could have remained.  In any event, ultimately granted access

            to the gun, Guzman had it checked for prints, established the

            lack  of his, and  introduced this  result at  trial.   It is

            clear that these results would have been exactly the same had

            the court  granted  Guzman's  first  request,  rendering  the

            court's  initial refusal,  at most,  harmless error.   United
                                                                   ______

            States v.  Sepulveda, 15  F.3d  1161, 1182  (1st Cir.  1993),
            ______     _________

            cert. denied, ___ U.S.  ___, 114 S.Ct. 2714, 129  L.Ed.2d 840
            ____________

            (1994).

                      The positive evidence  attributing the revolver  to

            Guzman  is confirmed by the  fact that a  "speed loader" that

            fitted  it  was  found on  his  person.    We understand  the

            seriousness of this offense but are surprised that this claim

            is made.

                      Next,  the  court's  charge  defining  "use"  of  a

            firearm2  under section  924(c) was  so clearly  correct, and

                                
            ____________________

            2.  Guzman's contention that the court's reference throughout
            its instructions to the jury to "firearm," or "weapon" in the
            singular, as opposed to the indictment's use of "firearms" in
            the  plural, impermissibly  altered the  indictment requiring
            reversal, is specious.

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            the  evidence so fitting, that we take little time to expound

            the law, or repeat  the facts.  Guzman's contention  that the

            jury could have convicted him for mere possession, not "use,"

            as the  statute requires, is groundless, given  that the jury

            specifically  asked  whether  the  firearms   count  required

            "possession" or "use," and the court then properly instructed

            it on the statutory meaning.  "Use" means to obtain a benefit

            from the arm's presence in relation to  the drug transaction,

            and  does not  require discharge  or threat  with same.   See
                                                                      ___

            United States v. Castro-Lara, 970 F.2d  976, 983-84 (1st Cir.
            _____________    ___________

            1992), cert. denied, ___ U.S. ___, 113 S.Ct 2935, 124 L.Ed.2d
                   ____________

            684  (1993).   The  sole  issue  is  whether  a  firearm  was

            "available for  use" to  Guzman during the  drug transaction,

            United States v. Hadfield, 918 F.2d 987, 998 (1st Cir. 1990),
            _____________    ________

            cert. denied, 500 U.S. 936 (1991), a conclusion  the evidence
            ____________

            abundantly supports.   It is scarcely  helpful to cite  cases

            from  the D.C. Circuit that have been overruled, or a dissent

            from  an early decision in our Circuit long ignored.  Counsel

            has  a  duty not  to make  such  frivolous contentions.   See
                                                                      ___

            A.B.A. Model Rules of Professional Conduct, Rules 3.1 and 3.3

            (1994 ed.).  

                      Next,  Guzman  now  claims  error  in  the  court's

            admitting  Moran's testimony  that the  heroin, agreed  to be

            worth $50,000,  might have  brought $500,000 at  retail after

            being cut.  There is little dispute that such information may



                                         -8-















            aid  in  proving  intent to  distribute.    United States  v.
                                                        _____________

            Miller,  589 F.2d 1117,  1136 (1st Cir.  1978), cert. denied,
            ______                                          ____________

            440 U.S. 958 (1979);  United States v. Pigrum, 922  F.2d 249,
                                  _____________    ______

            254  (5th Cir. 1991); United States v. Amaechi, 991 F.2d 374,
                                  _____________    _______

            377 (7th Cir.), cert.  denied, ___ U.S. ___, 113  S.Ct. 2980,
                            _____________

            125 L.Ed.2d 677 (1993).  DEA agents are especially qualified,

            and need not be certified as experts, to testify about street

            value, and  counsel can argue reasonable  inferences from it.

            United States v. Ogbuehi,  18 F.3d 807, 812 (9th  Cir. 1994);
            _____________    _______

            see  also, United  States v.  Agyen, 842  F.2d 203,  205 (8th
            _________  ______________     _____

            Cir.), cert. denied, 486 U.S. 1035 (1988).  
                   ____________

                      Finally, although the  Sentencing Guidelines  state

            that  the court  "shall impose  a fine  in all  cases, except

            where  the appellant establishes that he is unable to pay and

            is not likely  to become able  to pay any  fine," U.S.S.G.   

            5E1.2(a),  and the  minimum  statutory fine  was $10,000  for

            Velasquez  and  $12,500  for  Guzman,  U.S.S.G.     5E1.2(c),

            neither defendant  is thankful that the court reduced each to

            $5,000.  Rather, both  claim they should go scot-free.  It is

            true  that  the  presentence   reports  for  both  defendants

            indicated no apparent  source of  funds, but it  is not  true

            that the  reports recommended  no fine, as  defendants claim.

            Both  are healthy individuals  with no apparent disabilities.

            Neither  objected to  his  fine at  the  time of  sentencing,

            although given an  opportunity to  do so, and  even now  they



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            make no attempt to show incapacity to earn.   Surely it would

            be a dangerous precedent to take the argument they were given

            counsel, and allowed to appeal  in forma pauperis, as meeting

            their burden, under   5E1.2(a), to show they could never earn

            this relatively modest sum.

                      Affirmed.
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